                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC., ET AL.,

                Plaintiffs,                             Case No. 3:23-cv-01092

                v.
                                                        Chief Judge Waverly D. Crenshaw, Jr.
ANTHROPIC PBC,                                          Magistrate Judge Alistair Newbern

                Defendant.


                                DECLARATION OF BEN Y. ZHAO

       I, Ben Y. Zhao, hereby declare pursuant to 28 U.S.C. § 1746:

       1.      I am the Neubauer Professor of Computer Science at the University of Chicago,

and a Fellow of the Association for Computing Machinery (“ACM”).

       2.      I submit this declaration in connection with Plaintiffs’ Reply in Support of the

Motion for Preliminary Injunction filed by Plaintiffs Concord Music Group, Inc., Capitol CMG,

Inc., Universal Music Corp., Songs of Universal, Inc., Universal Music – MGB NA LLC,

Polygram Publishing, Inc., Universal Music – Z Tunes LLC, and ABKCO Music, Inc.

(collectively, “Publishers”), in their lawsuit against Defendant Anthropic PBC (“Anthropic”).

       3.      My statements set forth below are based on my specialized knowledge, education,

and experience, as applied to the facts and circumstances of this case. If called upon, I would and

could competently testify as to the matters contained herein.

       4.      This declaration incorporates by reference my previous declaration dated

November 16, 2023, ECF No. 47, submitted in support of Plaintiffs’ Motion for Preliminary

Injunction, ECF Nos. 40–41 (“November 16, 2023 Declaration”). My November 16, 2023




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Declaration contains important background and details not repeated here, including my curriculum

vitae, areas of expertise, and initial conclusions relating to Anthropic’s training of Claude with

Plaintiffs' copyrighted works and the delivery of those works as outputs.

       5.      In preparing this declaration, I relied on my general background and training and

reviewed Publishers’ filings, my previous declaration, Anthropic’s Opposition to Plaintiffs’

Motion for Preliminary Injunction (“Anthropic’s Opposition”) and supporting filings, and other

documents referenced herein.

       6.      The purpose and intent of this declaration is to provide a limited response to

assertions made in Anthropic’s Opposition.

Terminology

       7.      Anthropic’s Opposition suggests that my use of the term “attack” when referring to

Plaintiffs’ queries submitted to Claude demonstrates that these queries were not natural or

representative of how ordinary consumers would use Claude. This is not accurate. “Attack” is a

term of art in computer science to describe a technique that may reveal flaws in a system, including

in AI models. For example, AI security researchers Nicholas Carlini et al. use the term “attack” 18

times, including the introduction, of their 2023 paper “Quantifying Memorization Across Neural

Language Models,”1 cited in my November 16, 2023 Declaration. There is nothing nefarious or

even particularly notable about this term, and my use of it certainly does not demonstrate that the

prompts used by Plaintiffs were unforeseeable. Indeed, as described below, they were not only

foreseeable, but anticipated by Anthropic.




1 Nicholas Carlini et al., Quantifying Memorization Across Neural Language Models (Mar. 6,

2023), arXiv: 2202.07646, https://arxiv.org/pdf/2202.07646.pdf.



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Storage of Plaintiffs’ Works

         8.    Anthropic asserts in its Brief in support of its Opposition that it does not “store”

Plaintiffs’ works.2 I presume Anthropic means that it does not preserve a copy of the original

training data as readable text. I am unable to determine to what extent that statement is accurate.

But at a minimum, Anthropic must store Plaintiffs’ works in tokenized format in the model, and

can re-integrate them on command in response to user queries. That is how Claude is able to output

complete copies of Plaintiffs’ songs and how Anthropic is able to build guardrails designed to

prevent the output of the specific 500 works in suit. If it did not store these works in some fashion,

Anthropic would not be able to build a guardrail tailored to these particular sets of text.

Claude Training and Finetuning

         9.    I have reviewed the Declaration of Jared Kaplan, ECF No. 55-1 (“Kaplan Decl.”),

submitted in support of Anthropic’s Opposition. In Paragraph 28, Mr. Kaplan states, “Anthropic

has no interest in extracting or retaining the actual expressive content of any particular text used

to train Claude. Claude does not retain specific quotes or chunks of texts from the corpus for the

purpose of storing information it can regurgitate in response to a user prompt.” Anthropic’s Brief

in support of its Opposition further argues that Claude’s ability to output copyrighted material is a

“’bug’ not a ‘feature’ of the product.”3 These assertions are contradicted by the record of Claude’s

training.

         10.   In Paragraph 14 of his declaration, Mr. Kaplan cites to Claude’s Model Card (a

model card is a short statement describing the purpose of the model), attached as Exhibit A to the

Kaplan Decl., as an authoritative statement of Claude’s training inputs. The Claude Model Card




2 Anthropic’s Opposition at 6, 15–16.
3 Id. at 2.



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states that “[s]ome of the human feedback data used to finetune Claude was made public,” citing

to the dataset hosted on the Hugging Face website.4

       11.       That Anthropic dataset contains numerous instances where Anthropic used song

lyrics to “finetune” Claude. 5 As described in my November 16, 2023 Declaration, the purpose of

finetuning is to help the LLM give more precise and tailored responses, consistent with the

developer’s expected and intended use of the model. 6 Finetuning is typically done by individuals

who either are the intended users of the model, or are trained to develop queries in the style of the

intended users. Some of Anthropic’s finetuning prompts that demonstrate that Anthropic used

lyrics-related prompts to fine tune the model are:

             •   “What are the lyrics to American Pie by Don McLean?”

             •   “Do you know the lyrics to ‘I am The Walrus’? … Can you give me the first

             verse?”

             •   “Please provide the lyrics for the song ‘Only Hope’ by Mandy Moore.”

             •   “Please retype the lyrics, to the song, Mad About You, by Sting.”

             •   “I’m trying to figure out an artist by using the lyrics. Are you able to help?”

             •   “I want to know the complete lyrics.”

             •   “Can you help me identify the name of the song that includes the following

             lyrics[?]”




4 Hugging Face is a “machine learning (ML) and data science platform and community that helps

users build, deploy and train machine learning models…. Users can also browse through models
and data sets that other people have uploaded.” Ben Lutkevich, What is Hugging Face?,
TECHTARGET (Sept. 2023), https://www.techtarget.com/whatis/definition/Hugging-
Face#:~:text=Hugging%20Face%20is%20a%20machine,(AI)%20in%20live%20applications.
5 Dataset Card for HH-RLHF, HUGGING FACE, https://huggingface.co/datasets/Anthropic/hh-rlhf

(last visited Feb. 13, 2024).
6 November 15, 2023 Declaration ¶ 19.



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These are just a handful of examples. A more complete list can be found in the Declaration of

Attorney Timothy Chung (“Chung Decl.”), Ex. A. In response to these prompts, Claude was

presented with two competing outputs and was trained to select the better one. Generally, the two

choices are quite similar and differ primarily in the way the output is expressed. This is because

the finetuning stage is not the point at which content is chosen for the model, but rather when the

model is trained in preferred ways to respond in various contexts. In these examples, the context

is that of song lyrics. As described in the Chung Decl.,7 among the songs Anthropic included in its

prompts, as reflected in the Hugging Face data are:

             •   “All Along the Watchtower” as performed by Bob Dylan

             •   “Brown Sugar” as performed by the Rolling Stones

             •   “Can’t Get You Out of My Head” as performed by Kylie Minogue

             •   “In the Air Tonight” as performed by Phil Collins

             •   “My Heart Will Go On” as performed by Celine Dion

             •   “November Rain” as performed by Guns N’ Roses

             •   “Roar” as performed by Katy Perry

       12.       The fact that Anthropic trains Claude extensively with lyrics as prompts indicates

its recognition that subscribers will utilize Claude to seek lyrics to well-known songs. The

finetuning data (for example, the prompt “Rewrite the lyrics to Paradise City in the style of a Dr.

Seuss book”) also shows that Anthropic anticipated that consumers may seek to use well-known

lyrics to create new songs that incorporate recognizable portions of pre-existing works. The use of

lyrics in this was part of the feature set of the Claude LLM. Finally, the finetuning data indicates




7 Reply Declaration of Attorney Timothy Chung, Ex. A.



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Instant using the Poe application16—a website that aggregates access to several AI models on one

platform. It therefore appears that                      do not in all cases penetrate to third-party

applications and services using all versions of Claude. Since such third-party products and services

appear to be a substantial aspect of Anthropic’s intended business, 17 this problem is likely not

limited to Poe and potentially implicates many users. Plaintiffs have also been able to obtain

infringing outputs directly from Claude since the Complaint was filed.18

                          the Complaint was filed (and apparently as a direct result of the lawsuit),

more work is necessary to prevent the infringement of copyrighted works.

       20.     In my prior Declaration, I noted that memorization increases with model scale and

with repetition within training data.19 Mr. Kaplan states that the next version of Claude will be

trained on an even larger data set.20 A larger training dataset creates more opportunities for

repetition in outputs. He does not explain what steps have been taken to reduce duplication. The

               and guardrails were insufficient with Claude 2 and had to be supplemented. Now,

a new model is coming that likely has increased capacity for memorization. Anthropic has offered

no evidence to provide quantitative assurance that the



       21.     More generally, I believe Anthropic’s argument, that it is consistently able to patch

whatever holes Plaintiffs find, is fundamentally flawed. This lawsuit is not an exercise in “red




16 Reply Declaration of Michael Candore, Ex. A.
17 Anthropic recently announced a deal with Amazon Web Services to provide Claude “to

organizations around the world.” Manish Singh, Amazon to invest up to $4 billion in AI startup
Anthropic, TECHCRUNCH (Sept. 25, 2023), https://techcrunch.com/2023/09/25/amazon-to-invest-
up-to-4-billion-in-ai-startup-anthropic/.
18 Reply Declaration of Attorney Timothy Chung, Ex. B.
19 November 16, 2023 Declaration ¶ 24 n.9.
20 Kaplan Decl. ¶ 23.



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teaming,” where Plaintiffs identify vulnerabilities in Claude so Anthropic can fix the system it

built. And to the extent Plaintiffs do share the results of their testing, they are not responsible for

identifying all the flaws in the Claude system. Anthropic should be proactively working to prevent

the Publishers’ lyrics from being incorporated into its training data and outputs. Nothing in

Anthropic’s Opposition indicates that it has taken a more forward-looking, aggressive approach to

addressing this problem, which after all, is one of its own making.

Cost to Remove Plaintiffs Works from Training Dataset

        22.    Mr. Kaplan states




I doubt the accuracy of these estimates. The vast majority of the cost of building an AI model is in

the hardware and software needed to run the system, and in the iterative design of the training

pipeline that requires repeated testing and evaluation of                   optimization algorithms,

storage/access components by engineers. However, these are one-time costs that Anthropic has

already spent. Training the model from scratch takes computation time, but removing a small

portion of the dataset should only involve pure computation of the curated training tokens through

the established pipeline, and should not involve additional costly engineering or testing, which

should make up the bulk of the costs in updating a model. I believe Anthropic should be able to




21 Id. ¶ 44.



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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my personal knowledge and belief.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 15, 2024, I authorized the electronic filing of a true and
exact copy of the foregoing with the Clerk of the Court using the CM/ECF system, which sent
notice of such filing to the following:

 Aubrey B. Harwell III (No. 017394)                   Joseph R. Wetzel
 Nathan C. Sanders (No. 33520)                        Andrew M. Gass
 Olivia R. Arboneaux (No. 40225)                      LATHAM & WATKINS LLP
 NEAL & HARWELL, PLC                                  505 Montgomery Street, Suite 2000
 1201 Demonbreun Street, Suite 1000                   San Francisco, CA 94111
 Nashville, TN 37203                                  joe.wetzel@lw.com
 tharwell@nealharwell.com                             andrew.gass@lw.com
 nsanders@nealharwell.com
 oarboneaux@nealharwell.com

 Allison L. Stillman                                  Sarang V. Damle
 LATHAM & WATKINS LLP                                 LATHAM & WATKINS LLP
 1271 Avenue of the Americas                          555 Eleventh Street, NW, Suite 1000
 New York, NY 10020                                   Washington, DC 20004
 alli.stillman@lw.com                                 sy.damle@lw.com

 Kevin C. Klein                                       Eric P. Tuttle
 KLEIN SOLOMON MILLS, PLLC                            WILSON SONSINI GOODRICH & ROSATI
 1322 4th Avenue North                                701 Fifth Avenue, Suite 5100
 Nashville, TN 37208                                  Seattle, WA 98104
 kevin.klein@kleinpllc.com                            eric.tuttle@wsgr.com

 Nicole Saad Bembridge                                Jacob T. Clabo
 NETCHOICE, LLC                                       Lauren E. Kilgore
 1401 K St. NW, Suite 502                             SHACKELFORD BOWEN MCKINLEY NORTON,
 Washington, DC 20005                                 LLP
 nsaadbembridge@netchoice.org                         1 Music Circle South
                                                      Suite 300
 Frank P. Scibilia                                    Nashville, TN 37203
 Maya B. Katalan                                      jclabo@shackelford.law
 PRYOR CASHMAN LLP                                    lkilgore@shackelford.law
 7 Times Square, 40th Floor
 New York, NY 10036
 fscibilia@pryorcashman.com
 mkatalan@pryorcashman.com


                                                      /s/ Timothy Chung
                                                      Timothy Chung




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